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Fi|l in this information to l

Debtor 1 Toby Wi|liam

dentify the casc:

VanLandschoot

aka Toby William Van Landschoot

Debtor 2

 

isiw\»¢. »w\o)
United States Bankruptcy Court

Case number

for the: Middle District Of
8:1B-bk-05027-MGW

 

 

 

Ofi"lcia| Form 427
Cover Sheet for Reaffirmation Agreement

 

12l15

 

Anyone who ls party to a reaffirmation agreement may fill out and file this form. Flll it out completely, attach lt to the reaffirmation agreement.
and tile the documents within the time set under Bankruptcy Rule 4008.

Explaln the Repayment Terms of the Reaft|rmatlon Agreement

 

1. Who is the creditor?

U.S. Bank National Association
Name of the creditor

 

 

2, How much ll the debt? On the date that the bankruptcy case is filed $ 39.852.08
To be paid under the reaffirmation agreement $ 39,885.$9
§§§i§g per month for 19 months (if fixed interest rate)
3. What ls the Annual Before the bankruptcy case was tiled 3‘°5°°%
Percentage Rate (APR)
of interest? (See Under the reaffirmation agreement 3,0800% E] Fixed rate
Bankruptcy Code g Adjuatable rate
§ 524lk)(3)(E)-l

 

4. Does collateral secure
the debt?

No

E|El

Current market value $

Yes. Describe the collateral. 2018 AUDl QS, VlN: WA1ANAFY2J2003233

42,475.00

 

5. Doee the creditor assert
that the debt is
nondischargeab|e?

¥es. Attach an explanation of the nature ot the debt and the basis for contending that the debt is nondischargeable

 

6. Ueing lnformatlon from
Schedule I: your Income
(Otficial Form 106|) and

 

lncome.;end expenses'geported on Sohedule :l and J

income end expenses stated on the restonnatloo agreement

 

Schedule J: Your 6a. Combined monthly income from $ 14.818.19 6a. Monthly income from all sources $ 14,818.19
Expenses (Otticia| Form line 12 of Schedu|e | after payroll deductions
106.|), till ln the amounts.
6b. Monthl ex rises from line 22c of - Sf. Monthl e enses ~
Sched:,e J°e 15.891.00 y x° s_____15’891-0°
6c. Monthly payments on all - 6g. Monthly payments on all -
reaffirmed debts not listed on 5 reaffirmed debts not included in 3
Schedule J monthly expenses
6d. Schoduled net monthly income $ (1,072.81) Sh. Fresent net monthly tncome $ 1 072-81
Subtract lines 6b and 6c from 6a. Subtract lines 6f and 69 from 6e.
lf the total is less than 0, put the lt the total is less than 0, put the
number in brackets. number in brackets.
Ofl'icial Form 427 Cover Sheet for Reafflrmatlon Agreement Page 1

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Debtor 1 Toby William VanLandschoot Case number (if known) 6:18-bk-05027-MGW
First Name Mlddle Name Last Nsms

 

 

7_ Arethelncomeamounts a N°

on lines 6a and 6a . . .
. diffe t d l t lne 10.
dmemn? El Yes Exp|arn why they are ren an comp e e r

 

 

 

B. Are the expense amounts |X No
on lines 6b ind 6f D Yes. Explain why they are different and complete line 10.
dliferent?

 

 

 

 

9. is the net monthly E| No
i"¢°m° m "n° eli leu N Yes. A presumption of hardship arises (unless the creditor is a credit union).
thin 07 Explain how the debtor will make monthly payments on the reaffirmed debt and pay other living expenses
Comp|ete line 10.
Debtor will reduce household food and entertainment expenses in order to keep paying on this
GEEE

 

 

10. Debtor‘s certification
about lines 7-9

 

 

 

if any answer on lines 7-9
is Ves, the debtor must Signature of Debtor 1 Signature of Debtor 2 (Spouse Only in a Joint Case)

sign here.

if all the answers on lines
109 are No, go to line 11.

 

11. Did an attorney represent E| No
¢h¢ d¢bt°r in "¢90!|¥1'"9 m Yes. l-las the attorney executed a declaration or an afhdavit to support the reaffirmation agreement?
the reaffirmation |:| No \
agreement? g Yes

g Slgn Here

Whoever fills out this form l certify that the attached agreement is a true and correct copy of the reaffirmation agreement between the parties identified on
must sign here. this Cover Sheet for Reat‘linnatlon Agresment.

x W 7//!5/@€¢/€?'

Signature / MM / DD/ YYVY

 

 

 

 

 

 

Printed Name

Craig A Edelman

Jason Cottrill

John Rafferty

Juiian T. Cotton

Mary Vrtartas

Nata|ie Lea

14841 Da|ias Parkway, Suite 425
Dailas. Texas 75254

(972) 643-6600

(972) 643-6698

E~mail: consumer7@nosdefaultservices.com

Check one:

n Debtor or Debtor's Attomey
l:l Creditor or Creditor’s Attomey
[Z| Creditor’s Authorized Agent

 

 

 

Official Form 427 Cover Sheet for Reaffirmation Agreement Page 2
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Check One.

|E Presumption of Undue Hardship

U No Presumption of Undue Hardship

See Debtor’s Statement in Support of Reajj'irmation,
Part ll below, to determine which box to check

 

 

 

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

In Re: Toby William VanLandschoot § Case No. 8:18-bk-05027-MGW

aka Toby William Van Landschoot § Chapter 7
Debtor §
§

REAFFIRMATION DOCUMENTS

Name of Creditor: U.S. Bank Nationai Association

U Check this box if Creditor is a Credit Union

PART I. REAFFIRMATION AGREEMENT

Reaffirming a debt is a serious financial decision. Before entering into this Reaff'irmation Agreement, you
must review the important disciosures, instructions, and definitions found in Part V of` this form.

A.
B.

Brief description of the original agreement being reaHirmed: Motor Vehicle Lien

AMOUNT REAFFIRMED: $39,885.69

The Amount Reaff`irmed is the entire amount that you are agreeing to pay. This may include unpaid principal,
interest, and fees and costs (if any) arising on or before June 28, 2018, which is the date of the Disclosure
Statement portion of this form (Part V).

See the definition of "Amount Reajji`rmed" in Pan V, Section C below.

The AMVUAL PERCENTA GE RA TE applicable to the Amount Reaff`irmed is 3.0800%.
See definition of "Annual Percentage Rate" in Part V, Section C below.

This is a (check one) [Xl Fixed Rate |:l Variable Rate

If the loan has a variable rate, the future interest rate may increase or decrease from the Annual Percentage Rate
disclosed here.

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BZ400A (12/15) ` Page 2
D. Reafiinnation Agreement Repayment Tenns (check and complete one):

$ 865.80 per month for 49 months starting on July 7, 2018

*On the maturity date, all outstanding amounts owed under this reaffirmation agreement shall be
immediately due and payable.

l:l Describe repayment tenns, including whether future payment amount(s) may be different from the initial

payment amount.

 

 

 

E. Describe the collateral, if any, securing the debt:

Description: 2018 AUDI Q5, VIN: WAIANAFY212003233

Current Market Value: $42,475.00

Did the debt that is being reaffirmed arise from the purchase of the collateral described above?
le Yes. What was the purchase price for the collateral? 1 $48,028.34

Cl No. What was the amount of the original loan? $

Specify the changes made by this Reat`iirmation Agreement to the most recent credit terms on the reaffirmed
debt and any related agreement

Tenns as of the 'I'erms Atter

Date of Bankruptcy Reaffirmation

Bala“°¢ D“° $39,852.08 s39,885.69
(including fees and costs)

Annual Percentage Rate 3.0800% 3.0800%

Monthly Payment $865.80 $865.80

Cl Check this box if the creditor is agreeing to provide you with additional fixture credit in connection with
this Reaffirmation Agreement. Describe the credit limit, the Annual Percentage Rate that applies to
fixture credit and any other terms on future purchases and advances using such credit:

 

 

PART II. DEBTOR'S STATEMENT IN SUPPORT OF REAFFlRMATION AGREEMENT

. Were you represented by an attorney during the course of negotiating this agreement?
Check one. L_.l Yes l:l No

. Is the creditor a credit union?
Check one. U Yes l.'.>§| No

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C. If your answer to E!THER question A. or B. above is "No“ complete l. and 2. below.
l. Your present monthly income and expenses are:

a. Monthly income fi'om all sources after payroll deductions $14,81 8. 19
(take-home pay plus any other income)

b. Monthly expenses $ 15,025.20
(including all reaffirmed debts except this one)

c. Amount available to pay this reaffin'ned debt $ (207-01)
(subtract b. from a.)

d. Amount of` monthly payment required for this reaffirmed debt $865.80

lf the monthly payment on this reaffirmed debt (Iine d.) is greater than the amount you have available to
pay this rea/jirmed debt (line c.), you must check the box at the top of page one that says "Presumption
of Undue Hardship. " 0therwise, you must check the box at the top of page one that says "No
Presumption of Undue Hardship. "

2. You believe that this reaffirmation agreement will not impose an undue hardship on you or your
dependents because:

Check one ot` the two statements below, if applicable:

L_.l You can afford to make the payments on the reaHin'ned debt because your monthly income is
greater than your monthly expenses even after you include in your expenses the monthly payments
on all debts you are reaffirming, including this one.

El You can afford to make the payments on the reaffirmed debt even though your monthly income is
less than your monthly expenses after you include in your expenses the monthly payments on all

debts you are reaffirming, including this one, because:
I plan on reducing my household goods and entertainment expenses in order to keep paying on this

debt.

 

 

 

Use an additional page if needed for a full explanation

D. If your answers to BOTH questions A. and B. above were "Yes," check the following statement, if
applicable:

You believe this Reaf`firmation Agreement is in your financial interest and you can afford to make
the payments on the reaffirmed debt.

Also, check the box at the top of page one that says "No Presumption of Undue Hardship. "

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PART III. CERTIFICA'I`ION BY DEBTOR(S) AND SIGNATURES OF PARTIES

I (We) hereby certify that:
(1). l (We) agree to reame the debt described above.

(2). Before signing this Reaffirmation Agreement, I (we) read the terms disclosed in this
Reaffirmation Agreement (Part l) and the Disclosure Statement, Instructions and
Dehnitions included in Part V below;

(3). The Debtor's Statement in Support of Reaifirmation Agreement (Part ll above) is true and
complete;

(4). I am (We are) entering into this agreement voluntarily and am (are) fully informed of my
(our) rights and responsibilities; and

(5). I (We) have received a copy of this completed and signed Reaffirmation Documents

form. ’
SIGNATURE(S) (If this 's aj int Reafflrmation Agreement, byeth t gn):
/) .
Date l felt ila Signature \ §

Toby William VanLandschoot

Date Signature

 

Reaffirmation Agreement 'l`erms Accepted by Creditor:
Creditor U.S. Bank National Association 14841 Dallas Parkway, Suite 425, Dallas, Texas 75254
Print Name Address

 

 

 

 

Print Name of Representative M’_\ Wzg/ Y

Craig A. Edelman 'Signatur% Date
Jason Cottrill
John Rafferty
Julian T. Cotton
Mary Vitartas
Natalie Lea

 

 

 

 

PART IV. CERTIFICATION BY DEBTOR'S ATTORNEY (IF ANY)
To be filed only if the attorney represented the debtor during the course of negotiating this agreement

I hereby certify that: (l) this agreement represents a fully informed and voluntary agreement by the debtor; (2)
this agreement does not impose an undue hardship on the debtor or any dependent of the debtor; and (3) I have
fully advised the debtor of the legal effect and consequences of this agreement and any default under this
agreement

Cl A presumption of undue hardship has been established with respect to this agreement ln my opinion,
however, the debtor is(are) able to make the required payment

Check box, if the presumption of undue hardship box is checked on page l and the creditor is not a Credit

Union.
Date 7|3 ll 15 Signature of Debtor's Attomey wang

Print Name of Debtor's Attomey Jak C Blanchard

 

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PART V. DISCLOSURE STATEMENT AND INSTRUCTIONS TO DEBTOR(S)

Before agreeing to reaffirm a debt, review the terms disclosed in the Reaffirmation Agreement (Part I
above) and these additional important disclosures and instructions.

Reaffirming a debt is a serious financial decision. The law requires you to take certain steps to make sure the
decision is in your best interest. If these steps, detailed in Part B below, are not completed, the reaffirmation
agreement is not effective, even though you have signed it.

A. DISCLOSURE STATEMENT

l.

What are your obligations if you reaffirm a debt? A reaffirmed debt remains your personal legal
obligation. Your reaffirmed debt is not discharged in your bankruptcy case. That means that if you
default on your reaffirmed debt alter your bankruptcy case is over, your creditor may be able to take your
property or your wages. Your obligations will be determined by the reaffirmation agreement, which may
have changed the terms of the original agreement If you are reaffirming an open end credit agreement
that agreement or applicable law may permit the creditor to change the terms of that agreement in the
future under certain conditions

Are you required to enter into a reaffirmation agreement by any law? No, you are not required to
reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your best interest Be sure you can
afford die payments that you agree to make.

What if your creditor has a security interest or lien? Your bankruptcy discharge does not eliminate
any lien on your property. A "lien" is often referred to as a security interest, deed of trust, mortgage, or
security deed. The property subject to a lien is often referred to as collateral Even if you do not reaffirm
and your personal liability on the debt is discharged, your creditor may still have a right under the lien to
take the collateral if you do not pay or default on the debt. If` the collateral is personal property that is
exempt or that the trustee has abandoned, you may be able to redeem the item rather than reaffirm the
debt. To redeem, you make a single payment to the creditor equal to the current value of the collateral, as
the parties agree or the court determines.

How soon do you need to enter into and file a reaffirmation agreement? lf you decide to enter into a
reaffirmation agreement, you must do so before you receive your discharge After you have entered into
a reaffirmation agreement and all parts of this Reaffirmation Documents package requiring signature,
have been signed, either you or the creditor should file it as soon as possible. The signed agreement must
be filed with the court no later than 60 days after the first date set for the meeting of creditors, so that the
court will have time to schedule a hearing to approve the agreement if approval is required. However, the
court may extend the time for filing, even aher the 60-day period has ended.

Can you cancel the agreement? You may rescind (cancel) your reaffirmation agreement at any time
before the bankruptcy court enters your discharge, or during the 60-day period that begins on the date
your reaffirmation agreement is filed with the court, whichever occurs |ater. To rescind (cancel) your
reaffirmation agreement, you must notify the creditor that your reaffirmation agreement is rescinded (or
canceled). Remember that you can rescind the agreement even if the court approves it, as long as you
rescind within the time allowed.

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6.

When will this reaffirmation agreement be effective?
a. It` you were represented by an attorney during the negotiation of your reaffirmation agreement

i. if the creditor is not a Credit Union, your reaffirmation agreement becomes effective upon
filing with the court unless the reaffirmation is presumed to be an undue hardship in which case
the agreement becomes effective only after the court approves it;

ii. if the creditor is a Credit Union, your reaffirmation agreement becomes effective when it is
filed with the court.

b. lf you were not represented by an attorney during the negotiation of your reaffirmation
agreement, the reaffirmation agreement will not be effective unless the court approves it. To have
the court approve your agreement, you must file a motion. See lnstruction 5, below. The court will
notify you and the creditor of the hearing on your reaffirmation agreement You must attend this
hearing, at which time the judge will review your reaffirmation agreement If the judge decides that
the reaffirmation agreement is in your best interest, the agreement will be approved and will become
effective However, if your reaffirmation agreement is for a consumer debt secured by a mortgage,
deed of trust, security deed, or other lien on your real property, like your home, you do not need to
file a motion or get court approval of your reaffirmation agreement

What if you have questions about what a creditor can do‘.' If you have questions about reaffirming a
debt or what the law requires, consult with the attorney who helped you negotiate this agreement If` you
dc not have an attorney helping you, you may ask the judge to explain the effect of this agreement to you
at the hearing to approve the reaffirmation agreement When this disclosure refers to what a creditor
"may" do, it is not giving any creditor permission to do anything The word "may" is used to tell you
what might occur if the law permits the creditor to take the action.

B. INSTRUCTIONS

l.

Review these Disclosures and carefully consider your decision to reaffirm. If you want to reaffirm,
review and complete the information contained in the Reaffirmation Agreement (Part I above). If your
case is a joint case, both spouses must sign the agreement if both are reaffirming the debt.

Complete the Debtor's Statement in Support of Reaffirmation Agreement (Part ll above). Be sure that
you can afford to make the'payments that you are agreeing to make and that you have received a copy of`
the Disclosure Statement and a completed and signed Reaffirmation Agreement.

lf you were represented by an attorney during the negotiation of your Reaffirmation Agreement, your
attorney must sign and date the Certification By Debtor's Attomey section (Part IV above).

You or your creditor must file with the court the original of this Reaffirmation Documents packet and a
completed Reaffirmation Agreement Cover Sheet (Official Bankruptcy Form 427).

If you are not represented by an attorney, you must also complete and file with the court a separate
document entitled "Motion for Court Approval of Re@‘irmation Agreement" unless your recyfirmation
agreement is for a consumer debt secured by a lien on your real property, such as your home. You can
use Form B2400B to do this.

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C. DEFINITIONS

l.

"Amount Reaffirmed" means the total amount of debt that you are agreeing to pay (reafiirm) by
entering into this agreement The total amount of debt includes any unpaid fees and costs arising on or
before the date you sign this agreement that you are agreeing to pay. Your credit agreement may obligate
you to pay additional amounts that arise after the date you sign this agreement You should consult your
credit agreement to determine whether you are obligated to pay additional amounts that may arise after

the date of this agreement

"Annual Percentage Rate" means the interest rate on a loan expressed under the rules required by
federal law. The annual percentage Rate (as opposed to the "stated interest rate") tells you the full cost of
your credit including many of the creditor's fees and charges. You will find the annual percentage rate
for your original agreement on the disclosure statement that was given to you when the loan papers were
signed or on the monthly statements sent to you for an open end credit account such as a credit card.

"Credit Union" means a financial institution as defined in 12 U.S.C. § 46l(b)(l)(A)(iv). It is owned and
controlled by and provides financial services to its members and typically uses words like "Credit

Union" or initials like "C.U." or "F.C.U." in its name.

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